EXHIBIT 1

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The Law Office of Ralph Ertz

BO

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Anchorage, Alaska 99515
(907) 272-2721
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IN THE DISTRICT COURT FOR THE STATE OF ALASKA
THIRD JUDICIAL DISTRICT AT ANCHORAGE

STATE FARM FIRE AND CASUALTY
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Plaintiff,

“55 19 2019

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V5.

Pa Courts

AAA MOVING & STORAGE, INC. individually
and dba ALLIED INTERNATIONAL,

Defendant.

 

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Case No. 3AN-19-9%4 2 9CC

 

COMPLAINT

1. Plaintiff is now and at all relevant times has been an insurance company
duly conducting business under the laws of the State of Alaska. and is fully qualified to
maintain this action.

> Defendant was at all relevant times a resident of the State of Alaska within
the Third Judicial District.
3. On or about September |! 2017, at or near Cordova, Alaska, the
Defendant took possession of property owned by State F arm’ $ insured, Elizabeth C lough to be
delivered to their new residence in New Mexico,

4. During the transport of the insured’s property, the Detendant lost part of

the Plaintiff's property and it was not recovered, property damages in excess of $17,768.19

were incurred, the exact total sum to be proven at a later date.

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8600 E. Denond Boulevard, Suite 3-394

Anchorage, Alaska 995

 

 

 

5. Elizabeth Clough filed a claim with her insurance company. Plaintiff
State Farm, in order to recover damages sustained in the accident. Plaintiff State Farm’s claim
number is 02-1725-J21.

6. Plaintiff made payments to cover the damages to date as set forth above;
therefore entitling the Plaintiff, by contract and otherwise, to bring and maintain this present
action,

WHEREFORE, Plaintiff requests a judgment against the Defendant as follows:

1, For an amount in excess of $17,768.19 tor damages paid on

behalf of Plaintiff's insured.

2. For costs, pre-judgment and post-judgment interest, and
attorney's fees.

3. For such other relief as the Court may deem just and equitable.

DATED this “J davor PA ges 2 2019.

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Law Office oF Ralph. a

Attorney for Plainti tf

 

Cum plavit
Page ?

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IN THE DISTRICT/SUPERIOR COURT FOR THE STATE OF ALASKA
AT ANCHORAGE

State Farm Fire and Casualty Company

 

laintif(s),

AAA Meving & Storage, Inc. individually
and dba Allied International SUMMONS AND

NOTICE TO BOTH PARTIES
OF JUDICIAL ASSIGNMENT

 

Defendant(s).

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To Defendant: AAA Moving & Storage

 

You are hereby sum amoned and required to file with the court a written answer to the complaint

which accompanies this summons, Your answer must be fled with the court at 825 W. 4th

Ave., Anchorage, Alaska 9501 within 20 days* after the day you receive this summons. In

acdition, 4 copy or your answer must be sent to the plaintiff's attarney or plainnfr CF
I ce of Ralph Erwz ,wnese address is:

 

 

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SOO E. Dimond B Bivd.. Shite 3.304 Anchorage, AK YOSIS

 

if you Fail to file your answer within the required time, a default judgment may be entered
against you for the relief demanded in the complaint,

 

 

 

 

 

 

 

   

CASE NO. 3AN- IK] -¢ " oa PICCT

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If you are not represented by an atto yrney, YOU must inform the court and all other parties in
this case, in writing, © of your current mailing address anc any future changes to your mailing
address anc teleshone mt imber. You may use court form Notice of Change of Address,’
Telephone Number (7F-955), available at the clerk’s office or on the court system’s website at
httos://oublic.courts. alaska. gov/web/forms/docs/tf- -O55 o¢f te inform the court. - OR - If you
have an attorney, the attorney must comply with Alaska R. Civ, P, 5(i).

NOTICE OF JUDICIAL ASSIGNMENT
TO:
YOu
cl o Superior Court ‘use
Ye strict Court Judge Me ( v gC
t My an

: ‘ CLERK OF COURT

i certify a “a copy oF this Summons was __ mailed
| plain ati “EVs iff’s counsel along with a copy of the
_jJ Domestic rebivicme Procedu rai Order (Civil Pre-Trial Order

to serve on the defendaat with the summons.
Deputy Clerk ou We

 

« The State or a state officer or acency names as a defen anth “2° days to file its answer. If
you have been served with this . summons 0 outside the U hited Stat S, you also have 40 days te
file your answer.

CIV- 100 ANCH (10/17 )}(es) Civil Rules 4, 5, 12, 42(c). 55

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